              Case
     Fill in this      2:23-bk-52863
                  information                   Doc 1
                              to identify your case:       Filed 08/18/23 Entered 08/18/23 14:39:35                              Desc Main
                                                           Document     Page 1 of 10
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Ohio         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Sunburst   Hotels, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Quality  Inn & Suites Polaris North
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               7500 Vantage Drive                                       _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Columbus                    OH      43235
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Franklin County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                None
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 2:23-bk-52863            Doc 1         Filed 08/18/23 Entered 08/18/23 14:39:35                              Desc Main
                                                         Document     Page 2 of 10
                Sunburst Hotels, LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            7211
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a                      S&G Hospitality, Inc.                                       Parent Company
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               S.D. Ohio
                                                   District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 2:23-bk-52863                    Doc 1      Filed 08/18/23 Entered 08/18/23 14:39:35                               Desc Main
                                                          Document     Page 3 of 10
               Sunburst Hotels, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                           ✔




12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99
                                           ✔
                                                                             5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
         Case 2:23-bk-52863                  Doc 1       Filed 08/18/23 Entered 08/18/23 14:39:35                                 Desc Main
                                                         Document     Page 4 of 10
             Sunburst Hotels, LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            08/18/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Abijit Vasani
                                             _____________________________________________               Abijit Vasani
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    President
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ David Beck
                                             _____________________________________________              Date         08/18/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              David Beck
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Carpenter Lipps LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              280 N. High St., Suite 1300
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Columbus
                                             ____________________________________________________             OH            43215
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              614-365-4142
                                             ____________________________________                              beck@carpenterlipps.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              0072868                                                         OH
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
         Case 2:23-bk-52863       Doc 1    Filed 08/18/23 Entered 08/18/23 14:39:35              Desc Main
                                           Document     Page 5 of 10
                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Sunburst Hotels, LLC                                                            11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 S&G Hospitality, Inc.                                       100                     Managing member
 7500 Vantage Drive, Columbus, OH 43235
              Case 2:23-bk-52863                 Doc 1      Filed 08/18/23 Entered 08/18/23 14:39:35                              Desc Main
                                                            Document     Page 6 of 10
      Fill in this information to identify the case:

                    Sunburst Hotels, LLC
      Debtor name __________________________________________________________________

                                              Southern District of Ohio
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                      Check if this is an
      Case number (If known):   _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     ITRIA VENTURES LLC.                                                Monies Loaned /         Disputed
1    ONE PENN PLAZA                                                     Advanced                Contingent
     SUITE 3101
                                                                                                                                                   1,340,200.00
     NEW YORK, NY, 10119


     SMALL BUSINESS ADMINISTRATION -                                    Monies Loaned /
2    SANTA ANA LOAN LIQUIDATION                                         Advanced
     CENTER
                                                                                                                                                   74,351.80
     200 W SANTA ANA BLVD
     STE 740
     SANTA ANA, CA, 92701
     CHOICE HOTELS                                                      Services
3    PO BOX 99992
                                                                                                                                                   40,361.57
     CHICAGO, IL, 60696


     NIMBLE ACCOUNTING                                                  Services
4    200 MOTOR PARKWAY
     SUITE D-26                                                                                                                                    15,000.00
     HAUPPAUGE, NY, 11788


     HD SUPPLIES                                                        Suppliers or Vendors
5    PO Box 509058
                                                                                                                                                   3,708.11
      San Diego, CA, 92150-9058

     US FOODS                                                           Credit Card Debt
6    98761 COLLECTIONS CTR DR
                                                                                                                                                   3,655.72
     CHICAGO, IL, 60693-8761


     AEP                                                                Utility Services
7    PO BOX 371496
                                                                                                                                                   2,500.00
      PITTSBURGH, PA, 15250

     CHARTER COMMUNICATIONS                                             Utility Services
8    PO BOX 6030
                                                                                                                                                   1,600.00
     CAROL STREAM, IL, 60197




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
              Case 2:23-bk-52863                  Doc 1      Filed 08/18/23 Entered 08/18/23 14:39:35                               Desc Main
                                                             Document     Page 7 of 10
                    Sunburst Hotels, LLC
    Debtor         _______________________________________________________                      Case number (if known)_____________________________________
                   Name




     Name of creditor and complete             Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                            professional        unliquidated, total claim amount and deduction for value of
                                                                            services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                 partially         value of           claim
                                                                                                                 secured           collateral or
                                                                                                                                   setoff
     CHASE CARD SERVICES                                                  Utility Services
9    PO Box 6294
                                                                                                                                                     1,526.40
     Carol Stream, IL, 60197-6294

      CITY OF COLUMBUS                                                    Services
10 PO BOX 182882
                                                                                                                                                     1,200.00
     COLUMBUS, OH, 43218


      CITY OF COLUMBUS                                                    Services
11 PO BOX 182882
                                                                                                                                                     900.00
     COLUMBUS, OH, 43218

      CHARTER COMMUNICATIONS                                              Credit Card Debt
12 PO BOX 6030
                                                                                                                                                     800.00
     CAROL STREAM, IL, 60197


     CHARTER COMMUNICATION                                                Utility Services
13 PO BOX 6030
                                                                                                                                                     505.00
     CAROL STREAM, IL, 60197

     COLUMBIA GAS                                                         Utility Services
14 PO BOX 4629
                                                                                                                                                     500.00
      CAROL STREAM, IL, 60197

     CHARTER COMMUNICATIONS                                               Utility Services
15 PO BOX 6030
                                                                                                                                                     0.00
     CAROL STREAM, IL, 60197

     CHARTER COMMUNICATIONS                                               Utility Services
16 PO BOX 6030
                                                                                                                                                     0.00
     CAROL STREAM, IL, 60197

     KNIGHT CAPITAL FUNDING                                               Credit Card Debt
17 9 E, Loockerman Street, Suite 202-542
     Dover, DE, 19901
                                                                                                                                                     0.00


     U.S. SMALL BUSINESS                                                  Credit Card Debt
18 ADMJNISTRATION
     Office of the General Counsel                                                                                                                   0.00
     409 Third Street, SW
     Vashington, DC, 20416
     U,S, SMALL BUSINESS                                                  Credit Card Debt
19 ADMINISTRATION
     2 North Street, Suite 320
     Binningham, AL, 35203                                                                                                                           0.00


     GREEN CAPITAL FUNDING LLC                                            Credit Card Debt
20 116 Nassau Street, Suite 804
     New York,, NY, 10038                                                                                                                            0.00




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 2
Case 2:23-bk-52863      Doc 1     Filed 08/18/23 Entered 08/18/23 14:39:35        Desc Main
                                  Document     Page 8 of 10



                                United States Bankruptcy Court
                                Southern District of Ohio




         Sunburst Hotels, LLC
In re:                                                            Case No.

                                                                  Chapter    11
                     Debtor(s)




                                Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              08/18/2023                          /s/ Abijit Vasani
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                   President
                                                  Position or relationship to debtor
Case 2:23-bk-52863   Doc 1   Filed 08/18/23 Entered 08/18/23 14:39:35   Desc Main
                             Document     Page 9 of 10
Case 2:23-bk-52863   Doc 1    Filed 08/18/23 Entered 08/18/23 14:39:35   Desc Main
                             Document      Page 10 of 10
